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 1   LAW OFFICE OF EMILY DE LEON
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 3   Tel: (661)304-1019
     Email: emilydeleonlaw@gmail.com
 4
     Attorney for:
 5   VICTOR LUNA
 6
                             IN THE UNITED STATES DISTRICT COURT
 7
                           FOR THE EASTERN DISTRICT of CALIFORNIA
 8

 9
                                                      ) Case No.: 18-CR-00073-LJO-SKO
     UNITED STATES OF AMERICA,                        )
10
                                                      )
                     Plaintiff,                       ) DEFENDANTS REQUEST AND WAIVER
11
                                                      ) OF APPEARANCE
             vs.                                      )
12
                                                      )
     VICTOR LUNA,                                     )
13
                                                      )
                     Defendant                        )
14
     Defendant, VICTOR LUNA, hereby waives his appearance in person in open court upon the
15
     status conference set for Monday, AUGUST 6, 2018 in Courtroom 4 of the above entitled court.
16
     Defendant hereby requests the court to proceed in his absence and agrees that his interest will be
17
     deemed represented at said hearing by the presence of his attorney, EMILY DE LEON.
18
     Defendant further agrees to be present in person in court at all future hearing dates set by the
19
     court including the dates for jury trial.
20

21
     Date: 7/23/18                                                 ___/s/ Victor Luna________
22
                                                                   Victor Luna
23
     Date: 7/23/18                                                 __/s/ Emily de Leon________
24
                                                                   EMILY DE LEON
25                                                                 Attorney for Defendant




                              DEFENDANTS REQUEST AND WAIVER OF APPEARANCE    - 1
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 1
                                            ORDER
 2
          Good cause appearing.
 3
                Defendant Victor Luna is hereby excused from appearing at this court hearing
 4
          scheduled for AUGUST 6, 2018.
 5

 6

 7   IT IS SO ORDERED.
 8
       Dated:   July 27, 2018                        /s/ Lawrence J. O’Neill _____
 9                                           UNITED STATES CHIEF DISTRICT JUDGE

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                         DEFENDANTS REQUEST AND WAIVER OF APPEARANCE   - 2
